Case 1:24-cv-00002-TSK-MJA Document 31 Filed 05/09/24 Page 1 of 3 PageID #: 207




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

  STEPHEN J. BALISE, M.D.,

                         Plaintiff,
  v.
                                                       CIVIL ACTION NO.: 1:24-CV-2
  BRITTANY JACKSON,                                    (JUDGE KLEEH)

                         Defendant.


                    ORDER FOR PRO SE PLAINTIFF TO SHOW CAUSE
                    AND ORDER RESCHEDULING MOTION HEARING

        This matter is before the undersigned United States Magistrate Judge pursuant to a Referral

 Order [ECF No. 5] entered on January 4, 2024 by the Hon. Thomas S. Kleeh, Chief United States

 District Judge. Presently pending before the Court is Defendant’s motion to compel [ECF No. 28]

 concerning discovery.

        By Order [ECF No. 29] of May 1, 2024, the undersigned scheduled the matter for a hearing

 on the motion on May 8, 2024, to be conducted by videoconference/teleconference. The Clerk of

 the Court transmitted a copy of that Order [ECF No. 29] to pro se Plaintiff by certified mail, return

 receipt requested. A review of the United States Postal Service (“USPS”) platform for tracking of

 such items reveals that USPS attempted delivery of the item to Plaintiff on May 6, 2024, but was

 unsuccessful in delivery. Per the platform, USPS left a note with instructions for how to retrieve

 the item, which was available beginning May 7, 2024.

        As of the time of the hearing on May 8, 2024, the information on the USPS platform

 indicated that Plaintiff had failed to retrieve the item. Moreover, while counsel for Defendant

 appeared for the hearing, pro se Plaintiff did not.




                                                   1
Case 1:24-cv-00002-TSK-MJA Document 31 Filed 05/09/24 Page 2 of 3 PageID #: 208




         Accordingly, pro se Plaintiff is ORDERED to show cause, if any he can, by making

 appropriate written filing herein no later than May 29, 2024, for his failure to appear in this matter

 as previously ordered. In so doing, Plaintiff is ORDERED to show cause, if any he can, why

 Defendant’s motion to compel [ECF No. 28] should not be granted for Plaintiff’s failure to respond

 to the motion and to appear for a hearing on the motion. Plaintiff’s failure to respond to this Order

 to Show Cause and failure to appear for the hearing scheduled herein may result in adverse action

 with respect to the pending motion and/or other action adverse to Plaintiff.

         As such, the Court hereby SCHEDULES this matter for a hearing on both this Order

 to Show Cause and RESCHEDULES the Motion Hearing on Defendant’s motion to compel

 [ECF. No. 28] for Thursday, May 30, 2024 at 3:30 p.m.

         Pro se Plaintiff is advised that at the hearing on May 30, 2024, the Court will address

 the issue of his representation by legal counsel as raised in Defendant’s motion to compel. To

 the extent which Plaintiff indeed has retained counsel who is expected to appear herein, Plaintiff

 should assure that such counsel files an appropriate notice of appearance herein prior to the

 hearing and then appears at that hearing. And to the extent which pro se Plaintiff has utilized

 ghostwriting in this matter, Plaintiff is advised that the Court will inquire as to the existence

 and identity of any such ghostwriter and whether that person is licensed to practice in this

 District.

         The hearing on May 30, 2024 will be conducted remotely, using the Court’s Zoom

 videoconferencing/teleconferencing credentials. To join the meeting, participants may connect

 either by video or by telephone. Participants can connect by video by using the following link:

 https://www.zoomgov.com/j/1605681245?pwd=OU1BTDFQUDkraHA4U3Zpd1BIQW0rQT09 .

 Alternatively, participants may connect by telephone by calling (646) 828 7666, then entering



                                                   2
Case 1:24-cv-00002-TSK-MJA Document 31 Filed 05/09/24 Page 3 of 3 PageID #: 209




 Meeting ID 160 568 1245 and Passcode 43281. If participants have trouble connecting, they may

 contact Magistrate Judge Aloi’s Law Clerk, Nathan J. Fetty, directly by calling (304) 637-2239 or

 sending e-mail to nathan_fetty@wvnd.uscourts.gov. In addition, if parties wish to receive the

 Zoom hyperlink by email, they may request the same by contacting the above-noted Law Clerk.

        It is all so ORDERED.

        The Clerk of the Court is DIRECTED to send a copy of this Order to all pro se parties by

 certified mail, return receipt requested, to their last known addresses as shown on the docket, and

 to counsel of record by electronic means.

 DATED: May 9, 2024.




                                                 3
